         Case 2:17-cr-00101-WFN               ECF No. 630                 filed 12/20/17              PageID.2018 Page 1 of 2
O PS 8
(3/15)


                               UNITED STATES DISTRICT COURT
                                                                                                                             FILED IN THE
                                                                                                                         U.S. DISTRICT COURT
                                                                        for                                        EASTERN DISTRICT OF WASHINGTON



                                               Eastern District of Washington                                       Dec 20, 2017
                                                                                                                        SEAN F. MCAVOY, CLERK


U.S.A. vs.                  Ramos-Perez, Federico                                       Docket No.              2:17CR00101-WFN-5


                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Federico Ramos-Perez, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers sitting in the court at Spokane, Washington, on the 22nd day of June 2017, under the following conditions:

Standard Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall
advise the supervising Pretrial Services Officer and defense counsel within one business day of any charge, arrest, or contact
with law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement
agency, unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

Special Condition #18: Refrain from excessive use of alcohol.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                      (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant was arrested for obstructing a law enforcement officer and driving under the influence on
December 14, 2017.

Violation #2: The defendant consumed an excessive amount of alcohol on December 14, 2017.

    PRAYING THAT THE COURT WILL ORDER A SUMMONS AND MODIFY CONDITIONS OF PRETRIAL
                                 RELEASE SUPERVISION

                                                                                           I declare under the penalty of perjury
                                                                                           that the foregoing is true and correct.
                                                                                           Executed on:        December 19, 2017
                                                                               by          s/Erik Carlson
                                                                                           Erik Carlson
                                                                                           U.S. Pretrial Services Officer
         Case 2:17-cr-00101-WFN        ECF No. 630      filed 12/20/17       PageID.2019 Page 2 of 2
  PS-8
  Re: Ramos-Perez,, Federico
  December 19, 2017
  Page 2

THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[X ]     The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ X]     Other: The modification of pretrial release conditions
                as requested in the accompanying violation
                report.
                                                                      Signature of Judicial Officer

                                                                         December 20, 2017
                                                                      Date
